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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 1 of 32

Email Message

From: Auslander, Mitchell [mauslander@willkie.com]
Sent: Friday, December 16, 2011 12:33 AM i
To: anusum@chubbatlantic. bm; james. white@chartisinsurance.com: kate. daly@xlgroup. com;
_ Larry. Engrissei@ironstarrexcess.com; Maureen.Martin@chartisinsurance.com;
mlarsen@parsonsbehle.com; NatashaNye@petersnye.com: Paul. Koepff@clydeco.us;
RBryan@JacksCamp.com; Jeffrey.roberts@libertyIU.com; Kevin.williams@argore.com;
Shannon. Boettjer@clydeco.us
CC: Klisura, Dean M; Zaffino, Jonathan; Howe, Robert (Marsh); Fraser, Stephen D; Eastman,
Brad; Sledge, Chuck; dbeck@brsfirm.com; dbrown@bkllp.com; jredden@brsfirm.com; \
stephen.d fraser@marsh.com; timothy j.kenny@marsh.com; Black, Tony; Lemmer, William
Subject: Cameron Settlement
Attachments: Revised BP-Cameron Draft Settlement VB 12-15 1100pm_(20771736_4).DOCX;
Exhibit A Cameron Schedule of Insurance - Revised 12 15 11_(20770693_3).DOCX; BP
Signature Pages for BP-Cameron settlement_(20772192_1).PDF |

Dear Counsel,

I am attaching the settlement agreement signed by BP and Cameron a few moments ago. The
agreement is substantially similar to the last draft you saw. Many of the changes resulted from
Liberty International’s refusal to consent to the settlement except with unacceptable conditions. i
Cameron was able to persuade BP to finalize the agreement notwithstanding Liberty’s refusal but
it was very difficult as you can tell from the lateness of the hour. All of the other insurers have
consented and waived their subrogation rights, though we are still waiting for Ace’s written
confirmation. The agreement remains confidential until it is publicly announced later this {
morning.

Iam sure some of you will have questions. Please feel free to call me tomorrow at 914-262-
0713 though I may be groggy.

Thanks to those who have assisted in this effort.
Mitch

Mitchell J. Auslander

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(212) 728-8201 (phone)
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RA OK a OR a Oe fe ee 2 he ae at ae a ie hee ae aie oft ok ae 2K fe ae ok ake ft ok ake a ake oe oe of oR Re oe fe he oe He eo oe os oe oe ok oe ae a oe eo oe ok fe oc ae ak ak oe

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 2 of 32

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 3 of 32

CONFIDENTIAL SETTLEMENT AGREEMENT, MUTUAL RELEASES
AND AGREEMENT TO INDEMNIFY.

This Confidential Settlement Agreement, Mutual Releases and Agreement to Indemnify
(“Agreement”) is entered into this 15th day of December 2011 (the “Effective Date”), by BP
Exploration & Production Inc. (“BPXP”) and Cameron International Corporation (“Cameron”).
Where applicable, BPXP and Cameron will be referred to collectively as the “Parties” and
individually as a “Party.” BP Corporation North America Inc. (CBPCNA”) shall be a party to
this Agreement solely for the purposes of paragraph 5.5 and Article VIL.

For and in consideration of the mutual promises and releases set forth in this Agreement,
and for other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Parties stipulate and agree as set forth herein below.

L_ RECITALS AND ACKNOWLEDGEMENTS

1.1 BPXP and Cameron are defendants in lawsuits in state and federal courts arising
out of or related to the Deepwater Horizon Incident, including lawsuits that have been
consolidated in the multidistrict litigation pending before Judge Carl J. Barbier in the United
States District Court for the Eastern District of Louisiana (“MDL 2179”). BPXP and Cameron
may. also be sued, have Claims made against them, or be subject to investigation in future
lawsuits, administrative or regulatory proceedings, or government investigations or prosecutions
related to and arising out of the Deepwater Horizon Incident. The present and future Claims,
administrative and/or regulatory proceedings, or investigations related to and arising out of the
Deepwater Horizon Incident in which BPXP and Cameron are or become parties or are
otherwise involved shall be referred to collectively and individually as “the Litigation.”

1.2 BPXP and Cameron each acknowledge that the Deepwater Horizon Incident was
the product of complex and interlinked causes involving multiple parties from which the entire
industry can and should learn in order to improve safety in the drilling industry, including
standard specifications for blowout preventers and other drill through equipment. Accordingly,
BPXP and Cameron commit to working together to improve processes and procedures,
managerial systems, specifications, and safety and best practices in offshore drilling operations.
BPXP and Cameron will encourage other companies in the drilling industry to join them in this
improvement and reform effort.

1.3  BPXP and Cameron desire to resolve the disputes between them related to and
arising out of the Deepwater Horizon Incident. BPXP and Cameron desire to resolve any and all
disputes between them as to any alleged liability to the other related to or arising out of the
Deepwater Horizon Incident, whether such disputes sound in contract or tort or otherwise, as and
to the extent provided herein.

1.4 BPXP and Cameron each have determined independently that it is in their best
interests to reach a global settlement regarding the Litigation. This Agreement is not an
admission of any liability by any party regarding the Deepwater Horizon Incident. The Parties
agree and acknowledge that this Agreement has been reached after arm’s length negotiations,

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CONFIDENTIAL C1C0005189

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 4 of 32

with each Party compromising its Claims and defenses for value that it considers to be fair and
reasonable in view of the risks and costs associated with litigation.

Tf, DEFINITIONS

In addition to the terms defined elsewhere in the Agreement, the following terms shall be
defined as follows for the purposes of this Agreement, including all of its exhibits:

2.1 The “BP Released Parties” shall mean BPXP and each of its past and present
Affiliates (including BP p.l.c. and its subsidiaries and subsidiary undertakings (as those terms are
defined in the U.K. Companies Act 2006)), and each of their respective business units,
predecessors, and successors, and each of their respective agents, servants, representatives,
officers, directors (or Persons performing similar functions), employees, attorneys and
administrators, all and only in their capacities as such.

2.2 The “BP Releasing Parties,” shall mean BPXP and each of its past and present
Affiliates (including BP p.|.c. and its subsidiaries and subsidiary undertakings (as those terms are
defined in the U.K. Companies Act 2006)), and each of their respective business units,
predecessors, and successors.

2.3. The “Cameron Released Parties” shall mean Cameron and each of its past and
present Affiliates, and each of their respective business units, predecessors, and successors, and
each of their respective agents, servants, representatives, officers, directors (or Persons
performing similar functions), employees, attorneys and administrators, all and only in their
capacities as such.

2.4 The “Cameron Releasing Parties” shall mean Cameron and each of its past and
present Affiliates, and each of their respective business units, predecessors, and successors.

2.5 “Claims” shall mean any. claim, counterclaim, cross-claim, demand, charge,
dispute, controversy, action, cause of action, suit, proceeding, arbitration, alternative dispute
resolution, inquiry, investigation or notice, whether of a civil, criminal, administrative,
investigative, private or other nature, and whether pending, threatened, present or initiated in the
future and whether known or unknown, suspected or unsuspected, under any current or future
local, state, federal, foreign, tribal, supranational or international law, regulation, equitable
principle, contract or otherwise for any damage of any kind or nature whatsoever, including but
not limited to personal injury, bodily injury, death, special and general damages, property
damage, economic loss, business interruption, damage to natural resources, medical or
environmental monitoring or testing, special, consequential, general, and any compensatory
damages under federal, state or local laws related to pollution, and damages related to any
offshore drilling moratorium, whether brought directly, by subrogation, assignment or otherwise.

2.6 The “MC252 Well” shall refer to the exploratory well that was being drilled on
and before April 20, 2010 in block 252 of the Mississippi Canyon protraction area of the Gulf of
Mexico, commonly called the Macondo Prospect.

2.7 The “Deepwater Horizon Incident” shall, for purposes of this Agreement, refer to
the design, planning, preparation or drilling of the MC252 Well, the services, products,

2
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CIC0005190

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 5 of 32

equipment, spare parts, and modifications contracted for or provided by Cameron, its Affiliates
or by any other Person with respect to the MC252 Well, the Deepwater Horizon rig, and any
appurtenances or drilling equipment on the rig, including the BOP and its associated controls
equipment, whether deployed subsea or on the rig; the blowout and explosion on the Deepwater
Horizon mobile offshore drilling unit or rig that occurred on April 20, 2010; the ensuing fire and
loss of life, personal injury, and bodily injury; the sinking of the rig and the resulting release of
hydrocarbons and other pollutants from the MC252 Well site and the Deepwater Horizon rig;
any damages to any reservoir, aquifer, geological formation or underground strata; the relief well
efforts; the subsequent clean up and remediation efforts and all other responsive actions taken in
connection with the blowout of the MC252 Well.

2.8 “Transocean” refers to Transocean Ltd. and each of its past and present Affiliates,
and each of their respective business units, predecessors, and successors, and each of their
respective agents, servants, representatives, officers, directors (or Persons performing similar
functions), employees, attorneys and administrators, all and only in their capacities as such

2.9 “Transocean Contracts” shall refer to all contracts between any Cameron
Releasing Party and Transocean, including (i) the “Master Service Agreement” between
Transocean Offshore Deepwater Drilling Inc. and Cameron Division and Cameron Controls
Division, Cooper Cameron Corporation with an effective date of September 28, 2000; (di) the
“Master Services Agreement - Worldwide Operations” between Applied Drilling Technology
Inc. and Cameron Division, Cooper Cameron Corporation” with an effective date of March 29,
2006; (iii) all purchase orders and related terms and conditions between R&B Falcon Drilling
Co. and a Cameron Affiliate related to the blowout preventer for the Deepwater Horizon; and
(iv) repair quotes between Transocean and any Cameron Releasing Party.

2.10 “Person” shall mean any individual, estate, bank, corporation, company, general
or limited partnership, association, limited liability company, body corporate, business trust,
unincorporated organization or similar organization or other entity, whether domestic or foreign,
or any Governmental Entity.

2.11 “Affiliate” of a Person shall mean a Person that directly or indirectly through one
or more intermediaries controls, is controlled by, or is under common control with, the first
Person. “Control” (including the terms “controlled by” and “under common control with”)
means the possession, directly or indirectly, of the power to direct or cause the direction of the
management policies of a Person, whether through the ownership of voting securities, by
contract or credit arrangement, as trustee or executor, or otherwise.

2.12 “Working Interest Owners” refers to MOEX Offshore 2007 LLC and Anadarko
Petroleum Corporation, and their Affiliates, and each of their officers, directors (or Persons
performing similar fictions), employees, agents and representatives, all and only in their.
capacities as such.

2.13. “Cameron Insurers” shall mean any and all primary, umbrella, and excess
insurers, subscribing insurers, and reinsurers that issued or subscribed to any insurance policy
that was in effect on April 20, 2010, all and only as listed in Exhibit A to this Agreement
(collectively, “Cameron Policies”), but only in such insurers’, subscribing insurers’, and

3
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005191

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 6 of 32

reinsurers’ respective capacities as insurers, subscribing insurers, or reinsurers of Cameron
Released Parties under such Cameron Policies. Cameron represents and warrants that the
Cameron Policies are the only insurance policies that provide insurance to the Cameron
Releasing Parties that are potentially applicable to Claims relating to or arising out of the
Deepwater Horizon Incident.

2.14 “Consenting Cameron Insurers” shall mean all of, and only, the specific Cameron
Insurers identified as Consenting Cameron Insurers on Exhibit A to this Agreement, all of which
insurers have expressly consented to this Agreement.

2.15 “Third Party” shall mean any Person other than Cameron Released Parties, BP
Released Parties, or Cameron Insurers.

2.16 The term “including” means “including without limitation” and the term
“includes” means “includes without limitation.”

2.17 The term “approval” means a written approval.

TL CASH PAYMENT

3.1. Within 30 days of the Effective Date, Cameron and/or its Affiliates shall pay in
cash to BPXP, or one of BPXP’s Affiliates nominated by BPXP, the total sum of two-hundred-
fifty million dollars ($250,000,000) in cash (the “Cash Payment”) by wire transfer of same day
funds to one or more accounts designated by BPXP.

3.2 BPXP will use the Cash Payment to pay the claims of Persons whose injuries and
damages are alleged to arise out of or relate to the Deepwater Horizon Incident.

3.3. ‘If (i) the Cash Payment is not timely made in full, without set-off, deduction or
withholding or (ii) if any portion of the Cash Payment is avoided, set aside, or recovered for any
reason whatsoever from BPXP or one of its Affiliates by any Person; then at BPXP’s election
this Agreement, including Articles IV and V, shall be null and void, and all or any part of the
Cash Payment in the possession, custody, or control of BPXP or any of its Affiliates shall be
returned to Cameron. This Paragraph does not limit BPXP’s remedies, and BPXP also may
alternatively sue to enforce this Agreement and its promise of payment and other terms.

3.4 Cameron hereby represents and warrants that it shall be solely responsible for any
portion of the Cash Payment specified in Article III of this Agreement that is not funded or
reimbursed by any Cameron Policy triggered by or answerable to this Agreement.

IV. RELEASES

4.1 In consideration of and for the promises identified herein, the Parties make the
following releases with respect to the Deepwater Horizon Incident:

(a) The BP Releasing Parties hereby release and forever discharge the
Cameron Released Parties from any and all past, present or future Claims,
demands, lawsuits, damages, obligations, promises, losses, liabilities or

4
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005 192

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 7 of 32

(b)

costs of any kind, nature or description whatsoever, including tort claims,
contract claims, warranty claims, statutory claims, declaratory judgment
actions, counterclaims, cross-claims, demands and claims for damages,
including Claims for or based on payments made to or by the Gulf Coast
Claims Facility (“GCCF”), or Claims for fines, penalties, sanctions or
punitive or exemplary damages, that the BP Releasing Parties have, ever
had, hereafter may have, or have acquired or may hereafter acquire by
assignment or operation of law, against Cameron Released Parties,
including all Claims for subrogation, contribution or indemnity and all
Claims arising under any other theory of recovery, whether known or
unknown, suspected or claimed, whether or not yet asserted or accrued,
arising out of or related to the Deepwater Horizon Incident, including any
and all Claims in the Litigation. The BP Releasing Parties agree and
covenant not to assert any Claim against the Cameron Released Parties,
whether by complaint, cross-claim, counterclaim or other type of demand,
for any loss, injury or damage arising out of in any way or related to the
Deepwater Horizon Incident, including any and all Claims in the
Litigation.

The BP Releasing Parties hereby release and forever discharge the
Consenting Cameron Insurers from any and all past, present or future
Claims, demands, lawsuits, damages, obligations, promises, losses,
liabilities or costs of any kind, nature or description whatsoever under or
related to the Cameron Policies issued or subscribed to by Consenting
Cameron Insurers, including tort claims, contract claims and any claims
that the BP Releasing Parties have or allegedly have under the Cameron
Policies issued or subscribed to by Consenting Cameron Insurers
(including any claims as “additional insureds”), extra-contractual claims,
warranty claims, statutory claims, declaratory judgment actions,
counterclaims, cross-claims, demands, and claims for damages, including
Claims for or based on-payments made to or by the GCCF, or Claims for
fines, penalties, sanctions or punitive or exemplary damages, that the BP
Releasing Parties have, ever had, hereafter may have, or have acquired or
may hereafter acquire by assignment or operation of law, against the
Consenting Cameron Insurers under or related to the Cameron Policies
issued or subscribed to by Consenting Cameron Insurers, whether known
or unknown, suspected or claimed, including all Claims for subrogation,
contribution or indemnity and all Claims arising under any other theory of
recovery, whether or not yet asserted or accrued, arising out of or related
to the Deepwater Horizon Incident, including any and all Claims in the
Litigation. The BP Releasing Parties agree and covenant not to assert any
Claim against the Consenting Cameron Insurers under or related to the
Cameron Policies issued or subscribed to by Consenting Cameron
Insurers, whether by complaint, cross-claim, counterclaim or other type of
demand, for any loss, injury or damage arising out of in any way or related
to the Deepwater Horizon Incident, including any and all Claims in the
Litigation.
5

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL

C1C0005193

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 8 of 32

(c) The Cameron Releasing Parties hereby release and forever discharge the
BP Released Parties from any and all past, present or future Claims,
demands, lawsuits, damages, obligations, promises, losses, liabilities or
costs of any kind, nature or description whatsoever, including tort claims,
contract claims, warranty claims, statutory claims, declaratory judgment
actions, counterclaims, cross-claims, demands and claims for damages,
including Claims for fines, penalties, sanctions or punitive or exemplary
damages, that the Cameron Releasing Parties have, ever had, hereafter
may have, or have acquired or may hereafter acquire by assignment or
operation of law, against the BP Released Parties, whether known or
unknown, suspected or claimed, including all Claims for subrogation,
contribution or indemnity and all Claims arising under any other theory of
recovery, whether or not yet asserted or accrued, arising out of or related
to the Deepwater Horizon Incident, including any and all Claims in the
Litigation. The Cameron Releasing Parties agree and covenant not to
assert any Claim against the BP Released Parties, whether by complaint,
cross-claim, counterclaim or other type of demand, for any loss, injury or
damage arising out of in any way or related to the Deepwater Horizon
Incident, including any and all Claims in the Litigation. For the avoidance
of doubt, the scope of this release and waiver does not include any rights
to insurance coverage of the Cameron Releasing Parties under any
Cameron Polices.

4.2 Cameron, on behalf of itself, the Cameron Releasing Parties, the Consenting
Cameron Insurers, and any and all insurers, reinsurers, indemnitors, subrogees, or assignees of
any Cameron Releasing Parties or Consenting Cameron Insurers, releases the BP Released
Parties, to the fullest extent allowed by law and to the same extent as the Cameron Releasing
Parties are releasing the BP Released Parties pursuant to Paragraph 4.1(c), from and against any
and all Claims that any of them have, ever had, hereafter may have, or have acquired or may
hereafter acquire against the BP Released Parties, whether known or unknown, suspected or
claimed, including all Claims for subrogation, contribution or indemnity and all Claims arising
under any other theory of recovery, whether or not yet asserted or accrued, in relation to all or
any portion of any payment or other obligation arising out of or related to the Deepwater
Horizon Incident, including any and all Claims in the Litigation. For avoidance of doubt, it is the
intention of Cameron, on behalf of itself, the Consenting Cameron Insurers, and the Cameron
Releasing Parties, by this paragraph 4.2, to release and waive, to the fullest extent allowed by
law, any and all subrogation, contribution, and indemnification rights or Claims against any BP
Released Parties that might be asserted by any insurer or reinsurer or indemnitor of any Cameron
Releasing Parties (but solely in its capacity as such), or any subrogee or assignee of any
Cameron Releasing Parties or any such indemnitor, insurer or reinsurer (but again, solely in its
capacity as such), such that the Cameron Releasing Parties and any such insurers, reinsurers,
indemnitors, subrogees and assignees shall have no right or Claim to recover against any BP
Released Party in regard to all or any portion of any payment made or rights assigned hereunder,
at any time or under any theory whatsoever, whether legal, equitable, or otherwise. Cameron
represents and warrants that it is authorized by the Consenting Cameron Insurers to enter into the
release and waiver in this paragraph on their behalf.

6
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005194

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 9 of 32

4.3. Cameron, on behalf of itself, the Cameron Releasing Parties, the Consenting
Cameron Insurers, and any and all insurers, reinsurers, indemnitors, subrogees, or assignees of
any Cameron Releasing Parties or Consenting Cameron Insurers, agrees not to pursue, demand,
litigate, or otherwise seek any Claims for contribution, subrogation, indemnity, or Claims arising
under any other theory of recovery, including Claims for fines, penalties, sanctions or punitive or
exemplary damages, arising out of or related to the Deepwater Horizon Incident that any of them
have, ever had, hereafter may have, or have acquired or may hereafter acquire against any Third
Party, including against Transocean under the Transocean Contracts and against any insurer of
Transocean (acting in its capacity as such); provided that the scope of this paragraph does not
include any rights to insurance coverage that the Cameron Releasing Parties may have under the
Cameron Policies. Cameron represents and warrants that it is authorized by the Consenting
Cameron Insurers to enter into this paragraph on their behalf. Without limiting the remedies for
any portion of this Agreement, the Parties agree that the BP Released Parties may enforce
specific performance of this Paragraph.

44 Notwithstanding paragraphs 4.1 through 4.3, each Party may enforce its rights
under this Agreement. In addition, notwithstanding any other provision of this Agreement,
including paragraphs 4.2 and 4.3, Cameron is not releasing any subrogation or other rights of
Liberty Insurance Underwriters Inc. (“Liberty”), which issued policy number
LQ1B71198583046 to Cameron for the policy year July 1, 2009 to July 1, 2010. BPXP and
Cameron reserve all rights and claims that either may have against Liberty.

45 To the fullest extent allowed by law, Cameron hereby assigns all right, title, and
interest to all Claims that the Cameron Releasing Parties have asserted or could assert against
any Third Parties, including any indemnification claims against Transocean under the
Transocean Contracts and further including Claims for fines, penalties, sanctions or punitive or
exemplary damages, arising out of or relating to the Deepwater Horizon Incident (the “Cameron
Third Party Claims”) to BPXP, and BPXP accepts all right, title, and interest to all Cameron
Third Party Claims. To the extent that assignment of any Cameron Third Party Claims is
deemed invalid by a court or arbitration panel of competent jurisdiction, Cameron agrees on
behalf of the Cameron Releasing Parties to release, and covenants not to sue for, each and every
such Cameron Third Party Claim for which the assignment has been deemed invalid.

46 To the fullest extent allowed by law, Cameron, on behalf of itself and the
Cameron Releasing Parties, hereby waives, releases and forever discharges any and all Claims
for insurance coverage that any of them might have relating in any way to the Cash Payment
specified in Article III of this Agreement against any of the Consenting Cameron Insurers. For
the avoidance of doubt, Cameron reserves any rights it may have to insurance coverage under
any Cameron Policies to the extent such Policies are not exhausted by the Cash Payment.
Cameron, on behalf of itself and the Cameron Releasing Parties, further represents and warrants
that, in the event that any of them pursue any insurance coverage Claim against any Cameron
Insurer in respect to all or any portion of the Cash Payment specified in Article III of this
Agreement, Cameron and the Cameron Releasing Parties (a) shall only settle such insurance
coverage Claim if the settlement includes an express waiver of any such Cameron Insurer’s
rights of contribution, subrogation, indemnity, and rights to bring Claims arising under any other
theory of recovery, including Claims for fines, penalties, sanctions or punitive or exemplary
damages, against the BP Released Parties or Third Parties, including Transocean; or (b) if such

7
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005195

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 10 of 32

insurance coverage Claim does not settle, shall use their reasonable best efforts to litigate or
arbitrate any such insurance coverage Claim so that any judgment, decision, or award expressly
provides that any such Cameron Insurer has waived any right of contribution, subrogation,
indemnity, and rights to bring Claims arising under any other theory of recovery, including
Claims for fines, penalties, sanctions or punitive or exemplary damages, against the BP Released
Parties or Third Parties, including Transocean; and (c) shall not seek enforcement of any
favorable judgment, decision, or award without the consent of BPXP, which shall not be
unreasonably withheld, with the understanding that the absence of the express waiver described
in 4.6(b) shall be reasonable grounds for BPXP to withhold consent.

V. INDEMNITIES

51 BPXP’s Indemnities To The Cameron Released Parties. Subject in all respects
to paragraph 5.3, and subject to timely receipt of the Cash Payment in full, without set-off,
deduction or withholding, BPXP agrees to indemnify, but not defend, the Cameron Released
Parties for any and all Claims in any way relating to or arising out of the Deepwater Horizon
Incident, including the following Claims against the Cameron Released Parties to the extent
resulting from the Deepwater Horizon Incident:

(a) Claims for pollution, contamination or damage to natural resources,

(b) Claims for losses of or damages to (i) the MC252 Well; (ii) the reservoir at
the Macondo Prospect, and (iii) any property right in or to oil, gas, or
other mineral substances at the Macondo Prospect;

(c) Claims for personal injury (including bodily injury), illness, or death,
except for such Claims brought by or on behalf of individuals within the
definition of Cameron Released Parties incurred during the course of
performing their responsibilities for Cameron;

(d) Claims for damages to or losses of equipment and property belonging to
the BP Released Parties or Working Interest Owners and located at the
Macondo Prospect;

(e) Claims for killing the MC252 Well or otherwise bringing the MC252 Well
under control; and

(f) Claims for compensatory damages (but not fines, penalties and sanctions),
brought by federal, foreign, state or local governments and their
subdivisions, agencies, and trustees.

5.2 Cameron’s Indemnities to the BP Released Parties. Notwithstanding anything
contained in any other provision of this Agreement, including this paragraph 5.2, Cameron shall
have no obligation to indemnify the BP Released Parties for any punitive, exemplary, multiple,
or other non-compensatory damages and any civil, criminal or administrative fines or penalties
or sanctions, including any monies associated with a deferred or non-prosecution agreement, or a
civil judgment or settlement that adjudicates or resolves a Claim or Claims for fines, penalties, or

8
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005196

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 11 of 32

sanctions. Otherwise, Cameron agrees to indemnify, but not defend, the BP Released Parties for
the following Claims in any way relating to or arising out of the Deepwater Horizon Incident:

(a) Claims for personal injury (including bodily injury), illness, or death,
brought by or on behalf of individuals within the definition of Cameron —
Released Parties incurred during the course of performing their
responsibilities for Cameron, provided that for the avoidance of doubt this
subparagraph is not intended to apply to Claims by individuals within the
definition of Cameron Released Parties that arise outside of the course of
performing their responsibilities for Cameron;

(b) Claims for damages to or losses of equipment and property belonging to
the Cameron Released Parties, provided that for the avoidance of doubt
this subparagraph is not intended to apply to Claims by individuals within
the definition of Cameron Released Parties for losses of their personal
property or equipment that arise outside of the course of performing their
responsibilities for Cameron; and

(c) All amounts that are paid by the GCCF for any Claims for which Cameron
is responsible for indemnifying the BP Released Parties under this
paragraph 5.2, which Cameron shall reimburse to BPXP.

5.3. Scope of BPXP’s Indemnities. Notwithstanding anything contained in any other
provision of this Agreement, including paragraphs 2.5 and 5.1, BPXP’s indemnification
obligations pursuant to this Agreement do not include: .

(a) Claims for which Cameron is indemnifying the BP Released Parties;

(b) Any civil, criminal or administrative fines or penalties or sanctions,
including any monies associated with a deferred or non-prosecution
agreement, or a civil judgment or settlement that adjudicates or resolves a
Claim or Claims for fines, penalties, or sanctions;

(c) Any punitive, exemplary, multiple or other non-compensatory damages,

(d) Any Claims for any Cameron Released Party’s lost profits, lost revenues,
lost business opportunities, or business interruption, provided that for the
avoidance of doubt this subparagraph is not intended to apply to Claims by
individuals within the definition of Cameron Released Parties for such
Claims for lost profits, lost revenues, lost business opportunities, or
business interruption that arise outside of the course of performing their
responsibilities for Cameron;

(e) Claims for indemnification that any Cameron Releasing Party, or its
insurers, reinsurers, indemnitors, subrogees, or assignees, has, ever had,
hereafter may have, or has acquired or may hereafter acquire against any
Third Party, including under the Transocean Contracts;

9
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CIC0005197

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 12 of 32

# Litigation costs, including attorneys’ fees, incurred by the Cameron
Released Parties or Cameron Insurers related to any and all Claims by or
against any of them in any form, including Claims for which BPXP is
obligated to indemnify the Cameron Released Parties pursuant to
paragraph 5.1; and

(g) Claims, damages, losses, liabilities, fees, settlements, judgments, costs, or
other expenses or obligations arising from or related to: derivative Claims
brought by shareholders or members of a corporation or an unincorporated
association purportedly on behalf of any Cameron Released Parties;
securities Claims brought against any Cameron Released Parties;
shareholders’ Claims brought against any Cameron Released Parties;
Claims for fraudulent conveyance and similar creditors’ remedies brought
against or on behalf of any Cameron Released Parties; pension plan or
employee benefit plan Claims brought against any Cameron Released
Parties; Employee Retirement Income Security Act (“ERISA”) Claims
brought against Cameron Released Parties; Fair Labor Standards Act
Claims brought against any Cameron Released Parties; or Racketeer
Influenced and Corrupt Organizations Act (“RICO”) Claims brought
against any Cameron Released Parties.

. 5.4 BPXP’s Indemnities to Cameron Insurers. Notwithstanding paragraph 4.2,
BPXP shall indemnify, but not defend, Consenting Cameron Insurers for any “direct action”
Claims under the Cameron Policies issued or subscribed to by Consenting Cameron Insurers
made by any Third Parties directly against Cameron Insurers under L.S.-R.S. 22:1269 or any
similar applicable direct action statute, provided that such Claims in any way relate to or arise
out of the Deepwater Horizon Incident and only to the extent, and under the same terms, that
BPXP would be obligated to indemnify Cameron under this Agreement if the damages or any
other relief or recovery sought in such Claims were sought by such Third Parties directly against
Cameron. For the avoidance of doubt, in no event shall BPXP be obligated to defend or
indemnify Cameron Insurers for (a) any defense costs of any nature or kind whatsoever, (b) any
costs incurred in connection with any counterclaims or Claims for affirmative relief by Cameron
Insurers, or (c) any damages or other relief for which BPXP would not be obligated to indemnify
Cameron pursuant to the indemnities provided in paragraph 5.1 if such damages or other relief -
had been sought from Cameron.

5.5 BPXP’s Rights And Responsibilities As Indemnitor.

(a) In addition to any rights afforded by applicable law, BPXP as indemnitor
shall have the following rights:

(a) The right, at its election, to conduct or control any settlement
negotiations that are reasonably expected to trigger Claims under
or pursuant to the indemnities in paragraph 5.1 of this Agreement.
In the event BPXP exercises this right, BPXP shall keep Cameron
reasonably informed of the progress of any settlement negotiations.

10
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005198

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 13 of 32

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(ii) The final authority to approve any settlement that may give rise to
a Claim under or pursuant to the indemmities contained in
paragraph 5.1 of this Agreement, which settlement shall not be
entered into without BPXP’s approval. BPXP’s approval of any
settlement that is covered by the indemnities contained in
paragraph 5.1 of this Agreement shall not be unreasonably
withheld.

(iii) In the event that, subject to Cameron’s rights in paragraph 5.7, any
BP Released Party enters into a settlement agreement that relates to
a Claim which may be the subject of the indemnities contained in
paragraph 5.2 of this Agreement, such BP Released Parties shall
obtain releases broad enough to release the Cameron Released
Parties and all Third Parties from any further or future liability for
the Deepwater Horizon Incident, and the terms of which shall be
subject to Cameron’s prior approval, which will not be
unreasonably withheld.

Cameron agrees on behalf of the Cameron Released Parties that to the
extent that BPXP or BPCNA makes any payment in connection with its
indemnification of the Cameron Released Parties for Claims, BPXP or
BPCNA shall be subrogated to the extent of such payment to all of the
rights of the Cameron Released Parties, and, at the request of BPXP or
BPCNA, Cameron shall cause the Cameron Released Parties to take all
reasonable action necessary to secure such rights, including the execution
of such documents as are necessary to enable BPXP or BPCNA to bring
suit to enforce such rights.

Uriless the Parties agree that BPXP shall assume the defense of the
Cameron Released Parties in any lawsuit or other proceeding covered by
its obligation to indemnify under this Agreement, the Cameron Released
Parties shall use their reasonable best efforts to assume the defense in and
defend such lawsuit or other proceeding. BPXP shall have no right to
assume the defense of any Cameron Released Party in any lawsuit or other
proceeding covered by the indemnity in paragraph 5.1 without the
approval of such Cameron Released Party.

For any payments for which the Cameron Released Parties seek
indemnification, Cameron shall submit a written demand therefor
accompanied by reasonable proof of a judgment, settlement, or other
indemnifiable costs incurred or owed, subject to the defense obligations of
paragraph 5.5(c) (for purposes of this paragraph, the “Indemnification
Demand”). Unless otherwise agreed by the Parties, BPXP shall make any
indemnification payments due to the Cameron Released Parties within
thirty (30) business days of receiving a proper Indemnification Demand.
In the event that BPXP decides to appeal such judgment, BPXP shall be
responsible for the securing, posting or payment of any bond or any

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CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL

CIC0005199

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 14 of 32

obligation required in lieu of payment pending the resolution of such
appeal or for other costs of perfecting the appeal.

5.6 The Cameron Released Parties’ Rights And Responsibilities As Indemnitees.

(2)

In addition to any rights afforded by applicable law, any Cameron
Released Parties indemnified pursuant to this Article V, as the indemnitee,
shall have the following responsibilities:

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(iii)

To promptly notify BPXP in writing and in reasonable detail of
any Claim that may give rise to a Claim under or pursuant to the
indemnities contained in paragraph 5.1 of this Agreement.

To keep BPXP reasonably informed and to reasonably consult
BPXP with respect to the progress of any Claim, or any settlement
negotiations that any Cameron Released Party is responsible for
relating to a Claim, covered by any of the indemnities contained in
paragraph 5.1 of this Agreement.

In the event that, subject to BPXP’s rights in paragraph 5.5, any
Cameron Released Party enters into a settlement agreement that
relates to a Claim which may be the subject of the indemnities
contained in paragraph 5.1 of this Agreement, such Cameron
Released Parties shall obtain releases broad enough to release the
BP Released Parties and all Third Parties from any further or
future liability for the Deepwater Horizon Incident, and the terms
of which shall be subject to BPXP’s prior approval, which will not
be unreasonably withheld.

5.7. Cameron’s Rights And Responsibilities As Indemnitor.

(a)

In addition to any rights afforded by applicable law, Cameron as
indemnitor shall have the following rights:

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The right, at its election, to conduct or control any settlement
negotiations that are reasonably expected to trigger Claims under
or pursuant to the indemnities in paragraph 5.2 of this Agreement.

The final authority to approve any settlement that may give rise to
a Claim under or pursuant to the indemnities contained in
paragraph 5.2 of this Agreement, which settlement shall not be
entered into without Cameron’s approval. Cameron’s approval of
any settlement that is covered by the indemnities contained in
paragraph 5.2 of this Agreement shall not be unreasonably
withheld.

In the event Cameron elects to conduct or control any settlement
negotiations that are reasonably expected to give rise to a Claim

12

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 15 of 32

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under or pursuant to the indemnities contained in paragraph 5.2 of
this Agreement, Cameron shall keep BPXP reasonably informed of
the progress of any settlement negotiations.

(iv) Payments by the GCCF shall not be considered settlements, but
instead shall be treated the same as court judgments for purposes
of Cameron’s indemnification obligations to the BP Released
Parties.

Unless the Parties agree that Cameron shall assume the defense of the BP
Released Parties in any lawsuit or other proceeding covered by its
obligation to indemnify under this Agreement, the BP Released Parties
shall use their reasonable best efforts to assume the defense in and defend
such lawsuit or other proceeding. Cameron shall have no right to assume
the defense of any BP Released Party in any lawsuit or other proceeding
covered by the indemnity in paragraphs 5.2 or 5.7(c) through (e) without
the approval of such BP Released Party.

Notwithstanding any provision in this Agreement to the contrary
(including anything stated in Article TV), Cameron agrees to indemnify the
BP Released Parties for and against any Claims of any kind or nature
whatsoever, in law or in equity, asserted against any of the BP Released
Parties by or on behalf of any party seeking to recover (i) all or any
amount of any payment made by or due from Cameron to BPXP under
this Agreement or (ii) all or any amount of any payment for loss relating to
the Deepwater Horizon Incident made by, or at any time committed to by,
any Cameron Releasing Parties (or any insurer under the Cameron
Policies, or any subrogee or assignee of Cameron or of any such Cameron
Policies) to any Third Party, provided that such payment or commitment is
not the subject of the indemnities provided by BPXP to the Cameron
Released Parties in this Agreement.

Notwithstanding any provision in this Agreement to the contrary
(including anything stated in Article TV), Cameron agrees to indemnify the
BP Released Parties for and against any Claims of any kind or nature
whatsoever arising out of or relating to the Deepwater Horizon Incident
asserted against any of the BP Released Parties by or on behalf of (i) any
Cameron Released Party incurred during the course of performing their
responsibilities for Cameron, provided that for the avoidance of doubt this
subparagraph is not intended to apply to Claims by individuals within the
definition of Cameron Released Parties that arise outside of the course of
performing their responsibilities for Cameron; (ii) any Cameron Insurer;
or (iii) any and all reinsurers, indemnitors, subrogees, or assignees of any
Cameron Released Party or Cameron Insurer. Without limitation, this
indemnity includes any Claim made in breach of paragraph 4.2.

13

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 16 of 32

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Notwithstanding any provision in this Agreement to the contrary
Gncluding anything stated in Article IV), in the event any Cameron
Releasing Party, any Cameron Insurer, or any and all insurers, reinsurers,
indemnitors, subrogees, or assignees of any Cameron Releasing Party or
Cameron Insurer, seeks to recover on any Cameron Third Party Claims,
including against Transocean under the Transocean Contracts, Cameron
agrees to indemnify the BP Released Parties for and against any Claims of
any kind or nature whatsoever, in law or in equity, asserted against any BP
Released Parties by or on behalf of any Third Party, including Transocean,
seeking to recover from the BP Released Parties all or any amount of any
payment made by the Third Party as a result of a Claim made by any
Cameron Releasing Party, any Cameron Insurer, or any and all insurers,
reinsurers, indemnitors, subrogees, or assignees of any Cameron Releasing
Party or Cameron Insurer for any Cameron Third Party Claim, including
Claims for indemnification or contribution including such Claims by
Transocean. Without limitation, this indemnity includes any Claim made
in breach of paragraphs 4.3 or 4.5.

The indemnities described in paragraphs 5.7(c) through (e) shall include
the payment of the BP Released Parties’ costs, attorneys’ fees, and
expenses in any lawsuit or other proceeding, and in the event of any Claim
by or on behalf of any Cameron Insurer or any reinsurer, indemnitor,
subrogee, or assignee of any Cameron Insurer, the indemnities described
by paragraphs 5.7(c) through (e) shall obligate Cameron to pay any and all
reasonable defense costs, expenses, and other losses incurred by any BP
Released Parties on a current basis and throughout the pendency of any
such Claim, subject in all respects to the BP Released Parties’ rights to
control the defense and settlement of any such Claim. It is the express
intent of the Parties that unless otherwise agreed to by the Parties, the BP
Released Parties shall retain and be represented by their own counsel in
any matter to which the indemnities in paragraphs 5.7(c) through (e) may

apply.

In addition to any rights afforded by applicable law, any BP Released
Party indemnified pursuant to this Article V, as the indemnitee, shall have
the following responsibilities:

@) To promptly notify Cameron in writing and in reasonable detail of
any Claim that may give rise to a Claim under or pursuant to the
indemnities contained in paragraph 5.2 or 5.7(c) through (e) of this
Agreement.

(ii) To keep Cameron reasonably informed and to reasonably consult
Cameron with respect to the progress of any Claim, or any
settlement negotiations that any BP Released Party is responsible
for relating to a Claim, covered by any of the indemnities
contained in paragraph 5.2 or 5.7(c) through (e) of this Agreement.

14

CONFIDENTIAL SETTLEMENT AGREEMENT \

CONFIDENTIAL

CIC0005202

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 17 of 32

(h) For any payments for which the BP Released seek indemnification, BPXP
shall submit a written demand therefor accompanied by reasonable proof
of a judgment, settlement, or other indemnifiable costs incurred or owed,
subject to the defense obligations of paragraph 5.7(b) (for purposes of this
paragraph, the “Indemnification Demand”). Unless otherwise agreed to
by the Parties, Cameron shall make any indemnification payments due to
the BP Released Parties within thirty (30) business days of receiving a
proper Indemnification Demand. In the event Cameron decides to appeal
such judgment, Cameron shall be responsible for the securing, posting or
payment of any bond or any obligation required in lieu of payment
pending the resolution of such appeal or for other costs of perfecting the
appeal.

58 SUBJECT TO THE LIMITATIONS ON INDEMNITIES IN ARTICLE V,
THE PARTIES EXPRESSLY ACKNOWLEDGE AND AGREE THAT THE
INDEMNITIES AND RELEASES OF LIABILITY CONTAINED IN THIS
AGREEMENT SHALL APPLY REGARDLESS OF WHETHER THE CLAIM OR
LIABILITY IS PREDICATED ON THE SOLE, JOINT OR CONCURRENT FAULT,
NEGLIGENCE, GROSS NEGLIGENCE, OR STRICT LIABILITY OF THE BP
RELEASED PARTIES OR THE CAMERON RELEASED PARTIES, AND
ACKNOWLEDGE THAT ARTICLE V (INDEMNITIES) COMPLIES WITH ANY
REQUIREMENT THAT SUCH INDEMNITIES BE EXPRESS, CONSPICUOUS, AND
AFFORD FAIR AND ADEQUATE NOTICE. _

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5.9 Except for the Cameron Policies, this Agreement is not intended to, and shall not,
prejudice any rights to insurance coverage that the BP Releasing Parties may have had as of the
Effective Date or may have in the future under any insurance or reinsurance policy that may
apply to the Deepwater Horizon Incident.

Vi. COOPERATION

6.1 BPXP and Cameron agree to cooperate, and shall each cause their respective
Affiliates, personnel, employees, attorneys, agents and representatives to cooperate, in the
Litigation, to the extent consistent with all applicable laws, including the following:

(a) Subject to and pursuant to whatever court or body of law has jurisdiction
over this Agreement, the Parties agree to cooperate fully and truthfully in
the defense of any and all Claims relating to the Deepwater Horizon
Incident, including in the Litigation, where BPXP and/or Cameron or their
respective Affiliates are parties. The Parties further agree that they will
continue to truthfully present the evidence and facts in any litigation,
arbitration, governmental or regulatory proceeding or other Claim arising
out of or related to the Deepwater Horizon Incident. Nothing in this
Agreement prevents or restricts in any way any Person from fully and
truthfully cooperating with, or from truthfully and completely testifying
before, any federal, state, local or foreign government entity, including
any federal, state or local governmental, regulatory or self-regulatory

15
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL / C1C0005203

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 18 of 32

agency, body, committee (Congressional or otherwise), commission, or
authority (including any governmental department, division, agency,
bureau, office, branch, court, arbitrator, commission, tribunal, or other
governmental instrumentality) (‘Governmental Entity”), with respect to
any investigation or inquiry concerning the Deepwater Horizon Incident.
Further, nothing in this Agreement limits any Party’s ability to assert any
and all matters of law or fact, including any assertion by Cameron of any
rights under the Transocean Contracts, as a defense (and solely as a
defense) to any Claim brought against it.

(b) The Parties agree, to the extent practicable, consistent with applicable
laws, and subject to any confidentiality limitations or restrictions, and also
subject to attorney-client or other legal privilege, and further recognizing
that some individuals are represented by independent counsel, to provide
each other, upon formal or informal request from their respective counsel,
with reasonable and direct access to their respective personnel, employees,
documents, business records and all other evidence in their possession,
custody or control, including physical evidence, samples, additives, and
other materials. The Parties agree to consult with one another before
noticing or otherwise seeking the deposition of an employee of the other
Party to discuss alternative ways to obtain information or evidence. Such
access to Cameron’s personnel, employees, documents, records and other
evidence in their possession, custody or control is intended to allow BPXP
to better understand the causes of the Deepwater Horizon Incident and
what was known by Cameron before and at the time of the Deepwater
Horizon Incident, and thus allow for improved safety in drilling
operations.

Vil. GUARANTEE

71 BPCNA shall execute a Guarantee in the form attached hereto as Exhibit B.

VI. CONFIDENTIALITY

8.1 Subject to paragraphs 8.2 and 8.3, the Parties and their respective attorneys agree
to keep the terms and conditions of this Agreement confidential and shall not disclose this
Agreement to any other Person. Nothing in this paragraph shall preclude disclosure of this
Agreement before or after the date of this Agreement: (4) to the Parties’ employees, parents, or
Affiliates who agree to keep the information confidential; (ii) to the Parties’ attorneys who agree
to keep the information confidential; (iii) to the Parties’ accountants, tax preparers, advisors,
insurers, debt rating agencies or auditors for limited and legitimate purposes or to conduct
financial affairs and who agree to keep the information confidential; (iv) to the Consenting
Cameron Insurers’ tax preparers, advisors, auditors, accountants, reinsurers and
retrocessionnaires for limited and legitimate purposes or to conduct financial affairs and who
agree to keep the information confidential; (iv) as necessary to preserve or assert the Parties’
rights under this Agreement; or (v) as required by law, regulation, stock exchange rule, subpoena
and/or a court order or arbitral award. Each Party reserves the right to file or have its Affiliates

16
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CIC0005204

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 19 of 32

file this Agreement as an exhibit to filings with the Securities and Exchange Commission if that
Party or its Affiliates determine, in their sole discretion, that such filing is required by the
regulations of the Securities and Exchange Commission or necessary to make any registration
statement filed with the Securities and Exchange Commission effective or otherwise continue its
effectiveness.

8.2 If any Party is served with a subpoena or other form of discovery request that
would call for disclosure of this Agreement, it shall, to the extent permissible, give prompt
written notice to the other Party and oppose disclosure to the extent practicable unless this
provision is waived in writing by the other Parties. Except as provided in the last sentence of
8.1, if any Party is required by law, regulation, stock exchange rule, court order or subpoena to
disclose this Agreement, it shall, to the extent permissible, give notice to the other Party prior to .
such disclosure and use reasonable best efforts to ensure that such disclosure is made pursuant to
an applicable confidentiality or protective order, to the extent available.

8.3 Notwithstanding paragraph 8.1, the fact that BPXP and Cameron have reached a
settlement on issues related to the Deepwater Horizon Incident shall not be confidential and may
be publicly disclosed. The form, content, and timing of any press release relating to this
settlement shall be subject to mutual agreement of the Parties, which shall not be unreasonably
withheld.

IX. MISCELLANEOUS PROVISIONS

9.1 Notice. Notice to BPXP pursuant to this Agreement shall be sent by electronic
mail, certified mail or overnight delivery to:

John E. (Jack) Lynch Jr.

Deputy Group General Counsel
Chief Counsel Gulf Coast Restoration
US. General Counsel

BP America Inc.

501 WestLake Park Boulevard
Houston, TX 77079

Tel: (281) 366-1500

Fax: (713) 375-2808

E-mail: john.lynch@uk.bp.com

and

James J. Neath

Associate General Counsel
BP America Inc.

501 Westlake Park Boulevard
Houston, TX 77079

Tel: (281) 366-5815

Fax: (281) 366-5901

E-mail: James.Neath@bp.com

17
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005205

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 20 of 32

Notice to Cameron pursuant to this Agreement shall be sent by electronic mail, certified mail or
overnight delivery to:

William C. Lemmer

Senior Vice President and General Counsel
Cameron International Corporation

1333 West Loop South, Suite 1700
Houston, TX 77027

Tel: (713) 513-3360

Fax: (713) 513-3499

E-mail: William.Lemmer@c-a-m.com

92 Unknown Facts. The Parties acknowledge that they may hereafter discover facts
different from or in addition to those that they now know to be or believe to be true with respect
to the Claims being made in the Litigation and agree that this Agreement and the releases and
indemnities contained herein shall be and remain effective in all respects, notwithstanding such
different or additional facts and subsequent discovery thereof.

9.3 Representations And Warranties.

(a) Each Party represents and warrants that: (4) it is a corporation or limited
' Iiability company, as the case may be, duly organized, validly existing,
and in good standing under the laws of its jurisdiction of incorporation or
formation; (ii) it has all requisite corporate or limited liability company, as
the case may be, power and authority to enter into this Agreement; (iii) the
execution, delivery and performance of this Agreement has been duly
authorized by all necessary corporate or limited liability company action,
does not violate any applicable law or regulation to which either Party is
subject, and does not conflict with, or result in a breach of, any provision
of the organizational documents of such Party; (iv) this Agreement has
been duly executed and delivered by such Party and (assuming due
authorization and delivery by the other Party) constitutes a valid and
binding agreement of such Party, enforceable in accordance with its terms,
and (v) it has not assigned, transferred, or conveyed, or purported to have
assigned, transferred or conveyed, to any Person or entity any property,
interest, claim, demand, debt, liability, account, obligation, or cause of
action herein transferred, released or assigned.

(b) BPXP represents and warrants that it is authorized to act on behalf of the
BP Releasing Parties in all respects pertinent to this Agreement. BPXP
shall defend and indemnify the Cameron Released Parties for any breach
of this representation and warranty.

(c) Cameron represents and warrants that it is authorized to act on behalf of
the Cameron Releasing Parties in all respects pertinent to this Agreement.
Cameron shall defend and indemnify the BP Released Parties for any
breach of this representation and warranty, including, consistent with

18
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL

CIC0005206

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 21 of 32

paragraph 5.7(c) through (e), any breach of paragraph 4.2 or 4.3 by the
Consenting Cameron Insurers.

(d) | EXCEPT FOR THE EXPRESS WARRANTIES IN THIS AGREEMENT,
EACH PARTY DISCLAIMS ALL REPRESENTATIONS AND
WARRANTIES, EXPRESS OR IMPLIED.

94 Assignment; Binding On Successors And Assigns. Neither this Agreement nor
any of the rights, interests or obligations hereunder shall be assigned by Cameron without the
prior written consent of BPXP. Neither this Agreement nor any of the rights, interests or
obligations hereunder shall be assigned by BP-XP without the prior written consent of Cameron.
Any attempt to make an assignment hereunder without the approval of the other Party shall be
null and void with no force or effect. No assignment by any Party shall relieve such Party of any
of its obligations hereunder. Subject to the foregoing, this Agreement shall be binding upon and
inure to the benefit of and be enforceable by the Parties, their respective successors, permitted
assigns, predecessors, insurers or reinsurers of any type or degree, subrogees of any type, parents
and Affiliates, and legal representatives.

95 Taxes. Each Party to this Agreement shall separately and independently bear
responsibility to report any payment specified in this Agreement to the proper Governmental
Entities, as necessary. The Parties acknowledge and agree that the amount of any payment
specified in this Agreement shall not be reduced on account of any withholding tax. The Parties
further acknowledge and agree that they each are relying upon their own counsel and/or tax
advisors for any tax matters or advice.

9.6 Construction. This Agreement shall be interpreted as if jointly. written by all
Parties, and the rule of construction providing that any ambiguities are to be resolved against the
drafting party shall not be used in interpreting this Agreement. Prior drafts of this Agreement
may not be used to construe this Agreement. No term of this Agreement may be released,
discharged, abandoned, changed, or modified in any manner, oral or otherwise, except by a
written instrument duly signed by each Party. With respect to corporate Parties, such signature
must be by an authorized officer of such Party.

9.7. Yndependent Investigation. The Parties acknowledge, represent and warrant
that, in entering this Agreement, each Party has made an independent investigation of the facts
and is not relying upon any statements or representations, other than those contained herein,
made by the other. Party, its agents, employees, attorneys or representatives, and that no one,
including any of the Parties’ agents, employees, attorneys or representatives, has made any
promise, representation or warranty relating to this Agreement, or offered any further
consideration to enter into this Agreement, except as recited herein.

9.8 Entire Agreement. This Agreement contains the entire agreement between the
Parties concerning the subject matter hereof and supersedes and cancels all previous agreements,
negotiations, and commitments, whether oral or in writing, with respect to the subject matter of
this Agreement.

19
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005207

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 22 of 32

9.9  Enforceability. Other than the assignment of Cameron Third Party Claims
provided for in the first sentence in paragraph 4.5, if any portion of Articles IIT, IV, or V of this
Agreement is held to be illegal, invalid, or unenforceable, then this entire Agreement shall be
null and void and all monies paid hereunder shall be returned to the paying Party. If the
Guarantee in Exhibit B is held by a court or other tribunal in a final judgment or award not
subject to further review to be illegal, invalid or unenforceable, then Cameron, in its sole
discretion, may declare this entire Agreement null and void and all monies paid hereunder shall
be returned to the paying Party. Subject to the preceding two sentences, the illegality, invalidity
or unenforceability of any other provision of this Agreement shall not operate to invalidate the
whole Agreement and shall not affect the validity or enforceability of any other provisions of this
Agreement.

9.10 No Waiver of Privileges. Nothing in this Agreement shall be deemed a waiver
by BPXP or Cameron or any of their respective Affiliates of any privilege (including attorney-
client-privilege) or protection (including the work product doctrine). Similarly, nothing in this
Agreement shall require BPXP or Cameron or any of their respective Affiliates to violate the
terms of any applicable joint defense agreement, confidentiality agreement or protective order.

9.11 No Agency Or Joint Venture. Nothing in this Agreement shall make BP-XP.or
Cameron (or any of their respective past or present predecessors, successors, agents, servants,
representatives, officers, directors, employees, stockholders, attorneys, administrators, or
Affiliates) the fiduciary or agent of the other, nor will anything in this Agreement constitute a
joint venture, agency, partnership or similar relationship.

9.12 Dispute Resolution. It is the intent of the Parties to use their respective
commercially reasonable efforts to resolve expeditiously any dispute betweeri them with respect
to the matters covered by this Agreement that may arise from time to time on a mutually
acceptable negotiated basis. In furtherance of the foregoing, any Party involved in a dispute,
controversy or Claim may deliver a notice (an “Escalation Notice”) demanding an in-person
meeting involving representatives of the Parties at a senior level of management (or if the Parties
agree, of the appropriate business function or division within such entity). Any agenda, location
or procedure for such discussions or negotiations between the Parties may be established by.
agreement of the Parties from time to time; provided, however, that the Parties shall use their
commercially reasonable efforts to meet within twenty (20) days of the Escalation Notice.
Following delivery of an Escalation Notice, the Parties shall undertake good faith, diligent
efforts to negotiate a commercially reasonable resolution of the dispute. The Parties may, by
mutual consent, retain a mediator to aid the Parties in their discussions and negotiations. Any
opinion expressed by the mediator shall be strictly advisory and shall not be binding on the
Parties, nor shall any opinion expressed by the mediator be admissible in any Forum. The
mediator may be chosen from a list of mediators selected by the Parties or by other agreement of
the Parties. All third-party costs of the mediation shall be borne equally by the Parties involved
in the matter, and each Party shall be responsible for its own expenses. Any dispute arising from
or related to this agreement, if not otherwise resolved under this paragraph, shall be fully and —
finally resolved by binding arbitration in Houston, Texas, before a panel of three arbitrators,
pursuant to the commercial arbitration rules of the American Arbitration Association in effect at
the time a written demand for arbitration is first made. The award rendered by the arbitrators

20
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005208

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 23 of 32

shall be final and binding, and judgment may be entered upon it in accordance with applicable
law in any court having jurisdiction.

9.13 Choice of Law. The Parties agree that general maritime law shall control the
construction, interpretation, enforcement or validity of this Agreement, without regard to any
conflicts-of-law rules.

9.14 No Third Party Beneficiaries. This Agreement shall not confer any rights or
remedies upon any entity other than BPXP and Cameron, except as expressly provided herein
(including Articles IV and V, and including the Consenting Cameron Insurers to the extent
expressly provided herein), and specifically shall not provide any rights or remedies upon
Transocean, Without limitation and for the avoidance of doubt, Cameron Released Parties and
BP Released Parties shall be entitled to the benefit of releases and indemnities as set forth herein,
even if they are not signatories to this Agreement.

9.15 Counterparts. This Agreement may be executed in one or more counterparts,
each of which shall have the same force and effect as an original. The Parties hereto also agree
that facsimile or email signatures are effective as original signatures.

9.16 Headings. The section captions contained in this Agreement are provided only as
matter of convenience and for reference and in no way define, limit, extend or describe the scope
of this Agreement or the intent of any provision, and.shall not affect the construction,
interpretation, performance or validity of this Agreement.

21
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005209

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 24 of 32

IN WITNESS WHEREOEF, the Parties have caused this Agreement to be duly executed in
their representative corporate capacity by their duly authorized officers, as of the day and year
first written above.

BP EXPLORATION & PRODUCTION INC.

BP CORPORATION NORTH AMERICA INC.

By:
Name:
Title:

CAMERON INTERNATIONAL CORPORATION

22
CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005210

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 25 of 32

EXHIBIT A

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CONFIDENTIAL CiC0005211

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 26 of 32

EXHIBIT B
GUARANTEE

1. BP Corporation North America Inc. (the “Guarantor’), absolutely, unconditionally and
irrevocably guarantees to Cameron International Corporation (the “Beneficiary”’) that BP
Exploration and Production Inc. (“BPXP”) will duly and punctually perform, comply with, and
observe all of BPXP’s obligations (the “Obligations”) under that certain Confidential Settlement
Agreement, Mutual Releases and Agreement to Indemnify dated December 15, 2011 (the
“Apreement”), including all of its payment obligations, as and when required in accordance with
the terms thereof, in each case, without regard to whether such obligation is direct or indirect,
now or hereafter existing or owing, or incurred or payable before or after commencement of any
proceedings by or against BPXP under any applicable bankruptcy or insolvency law.
Notwithstanding anything to the contrary in this Guarantee, the commencement of any
proceedings by or against BPXP under any applicable bankruptcy or insolvency law shall not
relieve the Guarantor of its obligations under this Guarantee or impair the enforcement thereof
by the Beneficiary.

2. This Guarantee is an absolute and continuing guarantee of performance and payment (and
not of collection) of the Obligations. This Guarantee is in no way conditioned upon any attempt i
to collect any payment from, or enforce any Obligation upon, BPXP or upon any other event or
contingency, and shall be binding upon and enforceable against the Guarantor. i

3, The obligations of the Guarantor set forth herein constitute the full recourse obligations
of the Guarantor enforceable against it to the full extent of all its assets and properties.

4. The obligations of the Guarantor hereunder shall not be subject to any counterclaim,
setoff, deduction, diminution, abatement, stay, recoupment, suspension, deferment, reduction or
defense (other than full and strict payment or other satisfaction of the Obligations) based upon
any claim the Guarantor may have against the Beneficiary or any other obligor. The obligations i
of the Guarantor hereunder shall remain in full force and effect without regard to, and shall not
be released, discharged or reduced (except to the extent of any defenses to payment or |
performance to which BPXP is entitled under the Agreement) for any reason, including (a) any
amendment or waiver of any term of the Agreement, whether or not the Beneficiary, BPXP or
the Guarantor has notice or knowledge of any of the foregoing; or (b) any bankruptcy,
insolvency or similar proceeding with respect to the Guarantor or BPXP or their respective
properties, or any action taken by any trustee or receiver or by any court in any such proceeding.

5. The Guarantor unconditionally waives all notices which may be required by statute, rule
of law or otherwise to preserve any rights against the Guarantor hereunder, including (a) notice
of the acceptance of this Guarantee by the Beneficiary or any assignee thereof, or the
modification of the Obligations or notice of any other matters relating thereto; (b) any
presentment, demand, notice of dishonor, protest or nonpayment of any damages or other
amounts payable under the Agreement; (c) any requirement for the enforcement, assertion or
exercise of any right or remedy under the Agreement; (d) any requirement of diligence; (e) the
right to require the Beneficiary to proceed against BPXP or any other person liable on the
Obligations, and the Guarantor waives the right to have the property of BPXP first applied to

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005212

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 27 of 32

discharge the Obligations.
6. Representations and Warranties

q@) The Guarantor is an Indiana corporation duly formed and validly existing under
the laws of its jurisdiction of formation.

(ii) | The Guarantor has the power and authority to execute, deliver and perform its
obligations under this Guarantee and has taken all necessary action to authorize the execution,
delivery and performance of this Guarantee. No consent is required for the due execution,
delivery and performance by the Guarantor of this Guarantee, except those that have been
obtained and are in full force and effect.

(iii) | The authorization, execution, delivery and performance of this Guarantee by the
Guarantor will not result in any breach of or default under {or any condition which with the
giving of notice or lapse of time or both would constitute a breach or default under) (i) the
constituent documents of the Guarantor, or (ii) any contract, indenture, mortgage, security
agreement or other document, instrument or agreement or any judgment, order or decree to
which the Guarantor is a party or to which the Guarantor or any of its property is subject.

7. Miscellaneous

(i) The Guarantor shall not assign any of its rights or delegate any of its duties under
this Guarantee to any Person without the prior written consent of the Beneficiary.

(ii) | This Guarantee shall remain in full force and effect until such time all the
Obligations have been performed in full or are no longer in effect.

(iii) | Any notice to BPXP and Guarantor pursuant to this Guarantee shall be sent by
electronic mail and overnight mail to the following individuals:

John E. (Jack) Lynch Jr. James J. Neath

Deputy Group General Counsel Associate General Counsel
U.S. General Counsel BP America Inc.

BP America Inc. 501 Westlake Park Boulevard
501 Westlake Park Boulevard. Houston, TX 77079

Houston, TX 77079 , E-mail: James.Neath@bp.com

E-mail: John. Lynch@uk.bp.com

Any notice to Beneficiary pursuant to this Guarantee shall be sent by electronic mail and
overnight mail to the following individuals:

William C. Lemmer

Senior Vice President and General Counsel
Cameron International Corporation

1333 West Loop South, Suite 1700
Houston, TX 77027

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL C1C0005213

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 28 of 32

Tel: (713) 513-3360
Fax: (713) 513-3499
E-mail: William.Lemmer@c-a-m.com

(iv) This Guarantee shall not be amended without the written consent of the Guarantor
and the Beneficiary.

(v) Upon written demand, the Guarantor shall pay all reasonably incurred and
properly documented out-of-pocket expenses incurred by the Beneficiary, including fees and
disbursements of counsel, in connection with the enforcement of the obligations of the Guarantor
under this Guarantee. Any amount owed to the Beneficiary under this Guarantee shall earn
interest accruing daily from the deadline for payment thereof until paid at the lesser of (1) an
annual rate equal to LIBOR plus three (3) percentage points, or (ii) the maximum rate allowed by
applicable Law.

(vi) THIS GUARANTEE SHALL BE GOVERNED IN ALL RESPECTS,
INCLUDING AS TO VALIDITY, INTERPRETATION AND EFFECT, BY THE LAWS OF
THE STATE OF DELAWARE, WITHOUT GIVING EFFECT TO ITS PRINCIPLES OR
RULES OF CONFLICT OF LAWS, TO THE EXTENT SUCH PRINCIPLES OR RULES ARE
NOT MANDATORILY APPLICABLE BY STATUTE AND WOULD PERMIT OR REQUIRE
THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION.

(vit) This Guarantee is subject to the dispute resolution procedures. set forth in
paragraph 9.12 of the Agreement.

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005214

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 29 of 32

BP CORPORATION NORTH AMERICA INC.

By:
Name:
Title:

CONFIDENTIAL SETTLEMENT AGREEMENT

CONFIDENTIAL CiC0005215

Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 30 of 32

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 31 of 32

IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed in
their representative corporate capacity by their duly authorized officers, as of the day and year
first written above.

BP EXPLORATI ON & PRODUCTION INC.

By: 7
Name. James 4. Dupree
Tide LC haicman and Presiden?

BP CORPORATION NORTH AMERICA INC,

wy ee FD

Name: st Cuperee
Tiley Cirhaiwman anc. President

CAMERON INTERNATIONAL CORPORATION

By:
Name:
Title:

21
CONFIDENTIAL SETTLEMENT AGREEMENT

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Case 2:10-md-02179-CJB-DPC Document 12440-23 Filed 03/03/14 Page 32 of 32

BP CORPORATION NORTH AMERICA INC.

By: sx

Name: James“. Oupree.
Title: Aw thori zed. Sig netory

CONFIDENTIAL SETTLEMENT AGREEMENT

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